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                    IN THE UNITED STATES DISTRICT COURT FOR THE
9
                          EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,     )          1:04-CR-05285-OWW
12                                 )
                    Plaintiff,     )          FINAL ORDER OF FORFEITURE
13                                 )
               v.                  )
14                                 )
     GEORGE ZEPEDA,                )
15                                 )
                    Defendant.     )
16   ______________________________)
17
18        WHEREAS, on August 4, 2005, this Court entered a Preliminary
19   Order of Forfeiture pursuant to the provisions of 18 U.S.C. § 924(d)
20   and 28 U.S.C. § 2461(c), based upon the plea agreement entered into
21   between plaintiff and defendant George Zepeda forfeiting to the
22   United States the following property:
23             a.     A Remington 20 Gauge Shotgun;
24             b.     A Colt .38 caliber revolver,
25             c.     A Lorcin .380 caliber semiautomatic pistol; and,
26             d.     A Ami Tanfoglio Giuseppe .25 caliber semiautomatic
                      pistol.
27
28        AND WHEREAS, on October 18, 25 and November 1, 2005, the United

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1    States published notification of the Court's Preliminary Order of
2    Forfeiture in The Stockton Record (San Joaquin County), a newspaper
3    of general circulation located in the county in which the subject
4    property was seized.    Said published notice advised all third
5    parties of their right to petition the court within thirty (30) days
6    of the publication date for a hearing to adjudicate the validity of
7    their alleged legal interest in the forfeited property;
8         AND WHEREAS, the Court has been advised that no third party has
9    filed a claim to the subject property, and the time for any person
10   or entity to file a claim has expired.
11        Accordingly, it is hereby ORDERED and ADJUDGED:
12        1.    A Final Order of Forfeiture shall be entered forfeiting to
13   the United States of America all right, title, and interest in the
14   above-listed property pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. §
15   2461(c) for a violation of 18 U.S.C. § 922(g), to be disposed of
16   according to law, including all right, title, and interest of George
17   Zepeda.
18        2.    All right, title, and interest in the above-described
19   property shall vest solely in the name of the United States of
20   America.
21        3.    The Bureau of Alcohol, Tobacco, Firearms and Explosives, or
22   its designee, shall maintain custody of and control over the subject
23   property until it is disposed of according to law.
24        SO ORDERED THIS 9TH day of      January            , 2006.
25                                    /s/ OLIVER W. WANGER
26
                                      OLIVER W. WANGER
27                                    United States District Judge
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